Entered: October 26th, 2016
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Signed: October 25th, 2016

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
In re:                                                                                 Case No.: 16−12844 − JS
                                                                                       Chapter: 7
Darren Fruman
Debtor(s)                                                                              No.34

M&T Bank
Movant(s)

vs.

Darren Fruman
Brian A Goldman, Trustee
Respondent(s)


                                 ORDER GRANTING RELIEF FROM STAY

In this case a discharge has been granted to the debtor(s) and the Trustee has completed administration of assets. A
remaining undetermined matter is this motion for relief from automatic stay. The entry of the discharge terminated
the automatic stay as to an in personam action against the debtor(s). 11 U.S.C. § 362(c)(2)(C). The discharge
injunction of 11 U.S.C. § 524(a)(2) now permanently bars in personam actions against the debtor(s) for discharged
debts. The filing by the Trustee of a Report of No Distribution or a Final Report indicates the Trustee's consent to
closure of the case. Upon the closure of the case, the automatic stay terminates as to any action to enforce liens
against property of the estate. 11 U.S.C. § 362(c)(1).

Accordingly, the court finds cause exists to terminate the automatic stay imposed by 11 U.S.C. § 362(a) so that the
case can be closed.

It is, therefore by the United States Bankruptcy Court for the District of Maryland,

ORDERED, that the automatic stay imposed by 11 U.S.C. § 362(a) is terminated as to Movant(s)' right to execute
upon all liens that have not been avoided.

cc:      Debtor(s)
         Attorney(s) for Debtor(s) − Adam M. Freiman
         Case Trustee − Brian A. Goldman
         U.S. Trustee
         All Counsel − Kathryn E. Smits
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                                              End of Order
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